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                        UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


IN RE: ETHICON, INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY
LITIGATION                                                    Civil Action No. 2:12-md-02327
                                                              MDL No. 2327

THIS DOCUMENT APPLIES TO ALL CASES                            Honorable Joseph R. Goodwin
                                                              United States District Court Judge


                                       ORDER OF DISMISSAL

          Daniel J. Christensen and MedStar Funding, LC (“MedStar”), by counsel, have moved

the Court to remove MedStar and its counsel from receiving any further service under MDL

2327 as a CM/ECF registered participants.

          The Court finds good cause for granting this request.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED and DECREED that MedStar and its counsel, shall be

removed from receiving any further service under MDL 2327 as a CM/ECF registered

participants.

          The Clerk of this Court is hereby directed to send a copy of this Order to counsel of

record.

          ENTERED this ______ day of ____________________, 2014.



                                                       ____________________________________
                                                       The Honorable Joseph R. Goodwin
                                                       United States District Court Judge
